               IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION

                           CIVIL NO. 1:08CV9-T-02
                                 (1:04CR43)


ANGELA NAOMI HOWELL,                     )
                                         )
             Petitioner,                 )
                                         )
       vs.                               )           ORDER
                                         )
UNITED STATES OF AMERICA,                )
                                         )
         Respondent.                     )
______________________________           )


     THIS MATTER is before the Court on Petitioner’s motion to vacate,

set aside or correct sentence pursuant to 28 U.S.C. § 2255, filed January

2, 2008.

     Petitioner alleges in her motion that she was subjected to an

enhanced sentenced for involvement with actual methamphetamine in

spite of the Government’s failure to prove the exact form of the substance

with which she was involved. Petitioner also alleges that she received

ineffective assistance of counsel due to counsel’s failure to investigate and

determine the exact type of methamphetamine with which she had dealt, to

object to the Government’s plea offer and/or require the Government to



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prove that she had been dealing the most potent form of

methamphetamine before recommending that she sign a plea agreement

involving that substance, to advise her that she was pleading guilty to

involvement with the most potent form of methamphetamine, to present

certain mitigating evidence at sentencing in order to secure a downward

departure, and to ensure that she was not held accountable for any

methamphetamine which she had “cooked” for her own “personal use,” as

opposed to amounts in which she had trafficked in order to support her

drug habit.

      After careful consideration of the foregoing claims, the undersigned

has determined that the Government should be required to file a response

to each of those matters.

      IT IS, THEREFORE, ORDERED that the United States shall file an

answer to the above-noted allegations or before sixty (60) days from

service of this Order.

                                      Signed: January 15, 2008




                                   “Motion For Leave To File Amended




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